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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO. 24-cv-80787-DMM

  MIA WILLIAMS, et al.,

                  Plaintiffs,

   v.

  RETREAT BEHAVIORAL HEALTH, LLC, et
  al.,

                  Defendants.

                                                        /


                                DEFENDANTS’ JOINT STATUS REPORT

          Pursuant to the Court’s Order Denying Various Motions and Requiring a Joint Status

  Report From Counsel (See DE 115), undersigned counsel, hereby states as follows:

          1.      Patrick Martin, Esq., Maja Veselinovic, Esq., and Robert Perryman, Esq. (pro hac

  vice), of Ogletree, Deakins, Nash, Smoak, & Stewart, P.C., represent Defendants NR Florida

  Associates, LLC, NR Pennsylvania Associates LLC, Coal Lake Worth, LLC, HFGC Florida, LLC,

  and James Young, in his capacity as Temporary Receiver of NR Pennsylvania Associates, LLC.

          2.      Peter Ticktin, Esq., and Ryan Fojo, Esq., of The Ticktin Law Group, represent

  Defendants Alexander Hoinsky, Chrissy Gariano, CLW Holdings, LLC, Coal Capital Ephrata,

  LLC, Coal Capital Group, LLC, Coal Capital Holdings (Florida), LLC, Coal Connecticut, LLC,

  and David Silverstein.

          3.      The Ticktin Law Firm’s entry of appearance on behalf of Coal Lake Worth, LLC

  and HFGC Florida, LLC was an error. Ogletree, Deakins, Nash, Smoak, & Stewart, P.C., is the

  sole representative of the entities in this matter.
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         4.     The Ticktin Law Firm hereby withdraws its notice of appearance as it relates to

  Coal Lake Worth, LLC and HFGC Florida, LLC and any motions filed on the entities’ behalf.

   Dated: March 6, 2025                          Respectfully submitted,

                                                 /s/ Maja Veselinovic
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                                                 Attorneys for Defendants NR Florida
                                                 Associates, LLC, NR Pennsylvania Associates,
                                                 LLC, Coal Lake Worth, LLC, HFGC Florida,
                                                 LLC, and James Young

                                                 -and-

                                                 /s/ Peter Ticktin
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                                                 Ryan Scott Fojo, Esq.
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                                                 Attorneys for Defendants Alexander Hoinsky,
                                                 Chrissy Gariano, CLW Holdings, LLC, Coal
                                                 Capital Ephrata, LLC, Coal Capital Group,
                                                 LLC, Coal Capital Holdings (Florida), LLC,
                                                 Coal Connecticut, LLC, and David Silverstein
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                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on March 6, 2025, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF which will send a notice of filing to all counsel of

  record.


                                                      /s/ Maja Veselinovic
                                                      Maja Veselinovic




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